Entered: January 26, 2009   Case 07-19162    Doc 101       Filed 01/28/09      Page 1 of 2
Signed: January 26, 2009

SO ORDERED




                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF MARYLAND
                                                    at Baltimore

                                In re: Case No.: 07−19162 − DK      Chapter: 7
      Keith Stevens                                    Melissia Stevens
      148 Old Solomons Island Road                     146 Old Solomons Island Rd.
      Lothian, MD 20711                                Lothian, MD 20711


                            ORDER REOPENING CASE
                           TO PERMIT DEBTOR(S) TO
         FILE DEBTOR'S CERTIFICATE OF FINANCIAL MANAGEMENT COURSE
   Upon consideration of Debtor(s)' motion to reopen the above−captioned case pursuant to 11 U.S.C. § 350(b) and
Federal Bankruptcy Rule 5010, it is, by the United States Bankruptcy Court for the District of Maryland,

   ORDERED, that the motion is granted for the limited purpose of permitting Debtor(s) to file the Certificate of
Financial Management Course, and the Clerk shall reopen the case; and it is further

    ORDERED, that if Debtor(s) has/have not initiated such action by filing a pleading herein on or before (30) days
after this Order is entered, the Clerk shall close the case.



cc:     Debtor(s)
        Attorney for Debtor(s) − Joseph Laumann
        Chapter 7 Trustee − Zvi Guttman
        U.S. Trustee
        Respondent Creditor(s) −


31.2 − mrybczynski

                                                  End of Order
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                                CERTIFICATE OF NOTICE
 District/off: 0416-1                 User: mrybczyns                     Page 1 of 1                         Date Rcvd: Jan 26, 2009
 Case: 07-19162                       Form ID: pdfall                     Total Served: 3

 The following entities were served by first class mail on Jan 28, 2009.
 db           +Keith Stevens,    148 Old Solomons Island Road,   Lothian, MD 20711-9708
 db           +Melissia Stevens,    146 Old Solomons Island Rd.,   Lothian, MD 20711-9708
              +Office of the US Trustee,    101 W. Lombard St, Ste 2650,   Baltimore MD 21201-2623
 The following entities were served by electronic transmission.
 NONE.                                                                                                              TOTAL: 0
              ***** BYPASSED RECIPIENTS *****
 NONE.                                                                                                              TOTAL: 0
 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.




I, Joseph Speetjens, declare under the penalty of perjury that I have served the attached document on the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: Jan 28, 2009                                      Signature:
